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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                Case No.: 16-20893-CR-MORENO(s)

   UNITED STATES OF AMERICA,

   vs.

   MONTY RAY GROW,

         Defendant.
   _________________________________/

             GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
                    MOTION FOR COMPASSIONATE RELEASE

          The United States of America, by and through the undersigned Assistant United States

   Attorney, hereby files its Response in Opposition to Defendant’s Motion to Modify Imposed Term

   of Imprisonment and Grant Compassionate Release [DE-436]. In his motion, Defendant requests

   that his sentence of 156 months imprisonment be reduced to “time served” based on his claim that

   he suffers from Chronic Traumatic Encephalopathy (“CTE”). He argues that his condition requires

   long-term, specialized medical care that BOP is not providing, and that without it he is at risk of

   serious deterioration in health or death. The government opposes the motion for two main reasons.

   First, Defendant’s medical condition does not meet the standard for extraordinary and compelling

   reasons needed to justify compassionate release. And second, the 3553(a) factors weigh heavily

   against reducing his sentence to time served.

          As explained in more detail below, it is uncertain whether Defendant actually has CTE.

   Rather, Defendant suffers from a constellation of symptoms including headaches, dizziness,

   depression, anxiety, and sensitivity to light and sound. Importantly, he does not suffer from any of

   the dementia-like symptoms related to advanced CTE like uncontrollable muscle movements,

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   trouble speaking, dysphagia (trouble swallowing), delusions, or serious self-harming thoughts or

   violent behaviors. He manages his daily affairs without any assistance. And the symptoms he does

   have are being treated by BOP medical staff using appropriate therapies. Defendant vaguely

   speculates about generalized treatments to mitigate some of his symptoms. But he has failed to

   identify any specific “long-term or specialized medical care” that BOP is failing to provide him

   that “without which [he] is at risk of serious deterioration in health or death.” Without more than

   speculation, the Court should not grant the extraordinary remedy of compassionate release.

            Additionally, the seriousness of Defendant’s offense, the need to promote deterrence and

   respect for the law, and the need to avoid unwarranted sentence disparities undermines

   Defendant’s demand for compassionate release at this time.

            I.      Pertinent Factual and Procedural Background

            In February of 2018 a jury found Defendant guilty on multiple counts of health care fraud,

   conspiracy to commit health care fraud, receipt of health care kickbacks, conspiracy to receive

   health care kickbacks, and money laundering. See DE-215. The Court sentenced Defendant to 156-

   months imprisonment. See DE-368. To date, Defendant has served approximately 74 months of

   that imposed sentence. According to BOP, Defendant’s projected release date is April 13, 2028.

   See https://www.bop.gov/mobile/find_inmate/byname.jsp# inmate_ results (last visited April 14,

   2024).

            Defendant is currently designated to FCI Coleman Low, where he lives at the adjacent

   minimum security satellite camp. As befits the camp setting, inmates are not locked in individual

   cells but live in a dormitory style housing with an open floor plan. Since June of 2023, Defendant

   has worked in the Coleman recreation department. Defendant requested and was recently granted


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   enrollment in BOP’s Residential Drug Abuse Program (“RDAP”). RDAP is BOP’s most intensive

   drug treatment program. Inmates participate in half-day programming and half-day work, school,

   or vocational activities. Successful complete of the RADP will further reduce Defendant’s prison

   sentence. Because the Coleman satellite camp does not have an RDAP, however, Defendant is

   pending reassignment to a new BOP facility that does.

          Upon his intake with BOP in February of 2018, Defendant received a comprehensive

   medical evaluation. See Govt. Ex. 1 (composite exhibit of Defendant’s BOP medical records), pp.

   1-17. 1 As relevant here, Defendant reported a history of chronic dizziness, and that he had been

   seen by multiple specialists, including a neurologist, but without any successful treatment for this

   condition. Id., p.3. The Defendant also reported that he had a history of concussions and that he

   was prescribed Ambien for insomnia and depression. Id., p.7-8. During his intake, BOP requested

   copies of Defendant’s previous medical records but never received any. Id., pp. 18-20, 31.

   Throughout his first year in custody, Defendant’s main complaints were for abdominal cramps and

   an infected finger, which required medical intervention. See id., pp. 21-24.

          The medical records for 2019-2020 show that Defendant received a cholecystectomy at

   Jackson Hospital due to acute cholecystitis. 2 See Gov. Ex. 1, pp. 25-27. Defendant also



           1      The government obtained a complete set of Defendant’s BOP medical records and
   provided a copy to defense counsel. Rather than submit all six years of records, the government
   will file under seal one composite exhibit with the pertinent records referred to in this
   memorandum.

           2       Cholecystitis is an inflammation of the gallbladder typically cause by an
   obstruction due to gallstones. A cholecystectomy is a surgical procedure to remove the gallbladder.
   The surgery is common and minimally invasive. See Cleveland Clinic website, available at
   https://my.clevelandclinic.org/health/procedures/21614-gallbladder-removal (last visited April
   14, 2024).

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   experienced recurring knee pain and other minor ailments. In November of 2020, Defendant

   reported dizziness as part of a medical visit for his knee pain. Id., pp. 28-30.

          In 2021, Defendant reported that he had “post concussion syndrome” and he complained

   of headaches and dizziness due to the bright lights of his cell. See Govt. Ex. 1, p.31. However,

   testing at that time revealed no evidence of photophobia. Id. Defendant reported that he had been

   prescribed unspecified medications prior to incarceration with limited success. Id. BOP staff

   prescribed Mirtazapine and Amitriptyline for Defendant’s depression, anxiety, and headaches. 3

   Id., p.32. In October of 2022, Defendant sustained a leg injury while playing tennis. Id., p.34. The

   medical records also reveal that in December 2022 Defendant requested that his anxiety

   medication be changed to Buspirone due to the side effects of Mirtazapine, and BOP complied

   with Defendant’s request. 4 See id., pp. 37-38.

          In February 2023, Defendant again complained of anxiety, headaches, and dizziness when

   around loud noise and bright lights. See Govt. Ex. 1, p.39. Based on his history of sleep apnea

   Defendant was issued a CPAP machine. 5 Id.; see also p.43. Doctors also prescribed Propranolol


           3        Mirtazapine is an atypical antidepressant used primarily for the treatment of major
   depressive disorder. It also has off-label use for generalized anxiety disorder, social anxiety
   disorder,     headaches,     and      migraines.      See     https://www.ncbi.nlm.nih.gov/books/
   NBK519059/#:~:text=Mirtazapine (last visited April 23, 2024). Amitriptyline is a tricyclic
   antidepressant that is FDA-approved to treat depression in adults. The drug is also used off-label
   to treat chronic pain syndrome, anxiety, and insomnia. See NIH, National Library of Medicine,
   available at https://www.ncbi.nlm.nih.gov/books/NBK537225/#:~:text=Amitriptyline (last visited
   April 14, 2024)

           4      “Buspirone treats anxiety. It works by balancing the levels of dopamine and
   serotonin in your brain, hormones that help regulate mood.” See https://my.clevelandclinic.org/
   health/drugs/20084-buspirone-tablets (last visited April 20, 2024).

          5       A CPAP (continuous positive airway pressure) machine uses mild air pressure to
   keep breathing airways open during sleep. See https://www.nhlbi.nih.gov/health/cpap. (last visited
   April 20, 2014). The link between sleep apnea and cognitive and neurophysiological deficits is
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   to alleviate Defendant’s headaches (id., p. 41), and over time increased the dosage from 20 mg to

   80 mg daily. 6 Id., p.60. In July 2023, Defendant was recommended for ophthalmology and

   neurology consultations to assess his symptoms. Id., p. 46. The neurology consult was denied at

   that time pending the results of the ophthalmology exam. Id., p.50. In August of 2023, BOP

   prescribed Lisinopril and Captopril for Defendant’s emergent high blood pressure. 7 See id., p.49.

   In October 2023, following the ophthalmology consultation, Defendant was given a new

   prescription for eyeglasses with tinted lenses to help address his photophobia. Id., p.51. In

   December of 2023, Defendant was again recommended for a neurological consultation (id., p.54),

   however, BOP’s regional medical office deferred approval until a decision was made whether or

   not to conduct an MRI or CT scan prior to the neurology exam. Doctors also changed Defendant’s

   Buspirone prescription to Duloxetine to accommodate Defendant’s complaint about the side

   effects of Buspirone. 8 Id., pp. 52-53.


   well-established. “Patients with obstructive sleep apnea experience neuropsychological symptoms
   such as anxiety, attention deficits, cognitive impairment, depressive symptoms and other
   psychological disturbances” …. and they “demonstrate a decline in a wide spectrum of cognitive
   abilities, including memory, attention, psychomotor speed, executive, verbal and visual-spatial
   skills.” See R. Bilyukov, et al., Cognitive Impairment and Affective Disorders in Patients with
   Obstructive Sleep Apnea, Frontiers of Psychiatry (2018).

          6       Propranolol is a beta-blocker used to prevent migraines and alleviate the symptoms
   of anxiety, among other things. See https://www.nhs.uk/medicines/propranolol/ (last visited April
   20, 2024).

           7      Lisinopril and Captopril are approved by the FDA to manage hypertension in
   adults. See https://www.ncbi.nlm.nih.gov/books/NBK482230 (last reviewed April 20, 2024);
   https://www.ncbi.nlm.nih.gov/books/NBK535386 (last reviewed April 20, 2024).

          8       Duloxetine is a type of antidepressant medicine known as a serotonin-noradrenaline
   reuptake inhibitor (SNRI). SNRIs work by increasing the amount of mood-enhancing chemicals,
   serotonin and noradrenaline, in the brain. It is used to treat depression and anxiety. See NIH,
   National Library of Medicine, available at https://www.ncbi.nlm.nih.gov/books/NBK549806/ (last
   viewed April 14, 2024).
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           In February 2024, BOP doctors received approval to prescribe Defendant with a non-

   formulary medication, Keppra, which is an anti-seizure medication thought to be of value to those

   with traumatic brain injury. See Gov. Ex. 1, p.62. More recently, BOP’s regional medical office

   approved a neurology consultation for Defendant.

           Throughout all of Defendant’s BOP medical history, there has never been a report that

   Defendant is suffering from tremors, trouble speaking or swallowing, delusions, confusion,

   suicidal ideation, or other serious dementia-like symptoms. He is consistently described as alert

   and oriented; his affect is generally pleasant and cooperative; and his thinking is appropriate and

   goal oriented. See e.g., Govt. Ex. 1, pp. 40-41, 45, 49, 57, 59. Moreover, until May of 2023

   Defendant worked driving a forklift. Id., p.44. While he stopped due to his dizziness, he more

   recently began working in the Colman recreation department. See id., p.63. And despite his

   medical issues, Defendant requested and was recently accepted into BOP’s RDAP program.

   Defendant has never been unable to care for himself; nor has he required any assistance in his daily

   activities of living.

            II.    Legal Standards for Compassionate Release

           “A district court has no inherent authority to modify a defendant’s sentence and may do so

   only when authorized by a statute or rule.” United States v. Giron, 15 F.4th 1343, 1345 (11th Cir.

   2021). “A statutory exception exists for compassionate release,” under 18 U.S.C. 3582(c)(1)(A).

   Id. Under this provision, a district court has discretion to grant a motion for compassionate release

   if three conditions are met: (1) “extraordinary and compelling reasons warrant such a reduction,”

   (2) “such a reduction is consistent with the applicable policy statements issued by the Sentencing

   Commission,” and (3) the “§ 3553(a) sentencing factors weigh in favor of a reduction.” Id. (quoting


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   18 U.S.C. 3583(c)(1)(A)). It is an inmate’s burden to show that he meets all the requirements for

   a reduction under § 3582(c). See United States v. Mantack, 833 F. App'x 819, 819– 20 (11th Cir.

   2021) (citing United States v. Green, 764 F.3d 1352, 1356 (11th Cir. 2014)); see also United States

   v. Alonge, No. 21-13566, 2022 WL 1135533, at *1 (11th Cir. Apr. 18, 2022). 9

          As pertains to Defendant’s motion, the Sentencing Commission recently amended the

   definition of “extraordinary and compelling reasons” to include circumstances where: “[t]he

   defendant is suffering from a medical condition that requires long-term or specialized medical care

   that is not being provided and without which the defendant is at risk of serious deterioration in

   health or death.” USSG §1B1.13(b)(1)(C) (Nov. 2023).

          A.      Defendant Has Not Established Extraordinary and Compelling Reasons.

          In his motion, Defendant states that “[he] suffers from Chronic Traumatic

   Encephalopathy.” DE-436 (“Def. Mot.”) at 2. He says that he began experiencing symptoms of

   CTE over 13 years ago and, after numerous medical consultations, multiple “clinicians concurred

   in finding it was CTE which was causing his myriad symptoms.” Id. This diagnosis is dubious to

   say the least. It is unsupported by the medical literature and contradicted by the medical reports of

   many of his own doctors. The medical literature—including the paper Defendant himself cites in

   his motion—uniformly concludes that “CTE can only be diagnosed by postmortem

   neuropathologic examination of the brain tissue.” See Chronic Traumatic Encephalopathy:

   Update on Current Clinical Diagnosis and Management, Biomedicines (Apr. 2021), available at




           9      Under the statute, a defendant is required to exhaust his administrative remedies
   prior to filing a compassionate release motion in the district court. As noted in his motion,
   Defendant made a request for compassionate release with BOP in December of 2023, and that
   request was denied in January of 2024.
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   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8069746/ (last visited April 21, 2024). Indeed,

   even the Cleveland Clinic—which Defendant also relies heavily upon—reports that “there’s no

   way to diagnose this condition while a person is alive.” See Cleveland Clinic’s webpage on CTE

   (“Cleveland Clinic Web Page”), https://my.clevelandclinic.org/health/diseases/17686-chronic-

   traumatic-encephalopathy-cte (last visited April 21, 2024). Moreover, none of Defendant’s treating

   doctors dating back to 2010, including those at BOP who have treated him for the last six years,

   have ever diagnosed Defendant with CTE.

          The only support Defendant offers for his CTE diagnosis is the report of Dr. Mills (see DE

   436, Ex. 1) who visited Defendant at Coleman in November of 2023. Dr. Mills admits he never

   reviewed any of Defendant’s BOP medical records for the last six years. See DE-436, Ex. 1, p.3

   n.4. And the report identifies no independent medical examination conducted by Dr. Mills. In fact,

   it appears that Dr. Mills primarily relied on his conversation with Defendant to reach his

   conclusions. Perhaps because of this, Dr. Mills erroneously writes that “multiple clinicians have

   concurred in finding that it is this diagnosis [CTE] which is causing his myriad symptoms.”

   Critically, none of Defendant’s medical records dating back to 2010 contain a diagnosis of CTE.

   See DE-338, Exs 1-4, and Ex 7 (Defendant’s 2010-2013 medical reports). In fact, none of the

   records the government was provided by defense counsel even mention CTE, let alone diagnoses

   it, which begs the question of what Dr. Mills relied upon in order to “concur” with these other

   unnamed clinicians’ alleged diagnosis of CTE.

          Not only do Defendant’s prior doctors not diagnose him with CTE, but their reports

   actually offer other alternatives to explain Defendant’s symptoms. In addition, those reports

   demonstrate that many of Defendant’s symptoms have existed since 2010. As one example,


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   according to a medical evaluation from 2010, Defendant’s condition at that time included: (1) daily

   headaches, (2) occasional ringing in the ears, (3) difficulty in concentration, (4) neck, shoulder,

   wrist, finger, knee, and back pain, (5) difficulty sleeping, and (6) depression and anxiety. See DE

   338-1, pp. 3-4 (Medical report of Dr. M. Einbund, 2/24/2010). As to possible causes for some of

   the symptoms, among other things, Dr. Einbund reported degeneration of the cervical spine at C5-

   6 and a compression fracture at T-12. See id. p.9-10.

          As another example, in July of 2011 Defendant was seen by Dr. Hain regarding his

   dizziness and imbalance. See DE 338-4 (Medical report of Dr. T. Hain, 7/27/2011). This report

   noted his herniated disc at C5-C6 as a possible cause. See id., p.1. The report also noted that

   Defendant had a family history of migraines. See id., p.2. As such, Doctor Hain wrote a

   prescription for Effexor “on the thought that this may be a migraine variant.” Id., p.1. 10 These

   records show that Defendant experienced many of his current symptoms for eight years before his

   incarceration. None of his doctors diagnosed him with CTE. And more importantly, none of them

   were able to provide treatments that eliminated or even reduced his symptoms.

          Setting aside the dubious diagnosis, a more fundamental problem with Defendant’s motion

   is that it is equally well-settled that at present “[t]here’s no cure for CTE.” Cleveland Clinic Web

   Page, supra. Even Dr. Mills writes that despite advances in treatment options “the overall clinical

   course [of CTE] has not yet been meaningfully ameliorated.” DE-436, Ex, 1, p.4. Like Alzheimer’s

   dementia, Dr. Mills admits, “some treatments address symptoms, but the course of the illness is




           10     Migraine symptoms are remarkably similar to those of Defendant: severe headache,
   mood changes, difficulty concentrating, trouble sleeping, fatigue, nausea, vision changes,
   sensitivity    to    light    and      sound,     and    dizziness,   among      others.    See
   https://my.clevelandclinic.org/health/diseases/5005-migraine-headaches.
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   largely unchanged.” Id. In more familiar terms: “CTE is a degenerative brain disease. That means

   it’s progressive, and the symptoms will get worse over time. This can take years or even decades.

   Experts currently don’t have a way to predict how long it may take to see the decline in brain

   function.” Cleveland Clinic Web Page, supra. In other words, no treatments will stop the brain

   from degenerating. Nonetheless, despite the lack of any treatment to cure or stop the progression

   of CTE, or any way to predict the course of the disease, “[t]reatments for some of the symptoms

   are possible, and these vary depending on [the patient’s] symptoms, medical history and more.”

   Id. That is precisely what BOP is doing. BOP is trying to make an independent assessment and

   diagnosis of Defendant’s condition while also taking steps to minimize the impact of his

   symptoms.

          So far, as described above, BOP authorized and obtained an ophthalmology consultation

   for Defendant, which resulted in a new prescription for eyeglasses that are tinted to ease his

   sensitivity to light. BOP authorized and provided Defendant with a CPAP machine to address his

   sleep apnea. As noted above (see FN 5), sleep apnea can cause or contribute to many

   neurophysiological and cognitive issues similar to those Defendant is experiencing. Defendant also

   receives an array of medications to treat his headaches, high blood pressure, depression, and

   anxiety. BOP has periodically modified the dosages or changed the medications altogether as they

   search for the best options to treat Defendant’s symptoms. 11 BOP also recently approved a non-



           11     Dr. Mills quibbles with some of BOP’s drug choices and/or the dosages, but without
   even reviewing the BOP medical records. For example, he claims that Defendant’s Propranolol
   prescription should be increased from 40 mg daily, when in fact BOP doctors have prescribed 80
   mg daily. Similarly, he questions the use of Buspirone due to its side effects, but BOP changed
   Defendant’s Buspirone prescription to Duloxetine to accommodate the side effects Defendant was
   experiencing. Significantly, however, Dr. Mills offers no meaningful alternatives to what BOP is
   prescribing.
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   formulary drug thought to provide relief for those experiencing symptoms from traumatic brain

   injury. Additionally, BOP has authorized a neurology consultation for Defendant in an attempt to

   determine the cause or causes of Defendant’s complaints and determine the best course of

   treatment going forward.

          As the foregoing demonstrates, Defendant is wrong to state that he “has received no

   specialized therapy to address his symptoms.” Def. Mot. at 3. Defendant notes that as a former

   NFL player he is “approved to receive specialized treatment free of charge through the NFL Trust

   at Cleveland Clinic in Weston, Florida.” Id. In fact, however, Defendant is approved to receive a

   free two-day assessment from Cleveland Clinic. See id, Ex. 2 (email describing “the Brain Body

   Assessment at Cleveland Clinic,” which “is a comprehensive 2-day visit”); see also NFL Trust

   website, available at https://playerstrust.com/services/brain-and-body (“Through an integrated and

   individually tailored assessment offered by premiere medical institutions, you obtain a thorough,

   in-depth evaluation of your overall health.”). That evaluation assesses a wide range of health

   concerns for former football players including, among other things, cardiology, nutrition,

   orthopedics, and neurology. See id. As such, the Brain Body Assessment is not the sort of long

   term or specialized treatment that Defendant suggests. It is certainly no silver bullet for treating

   CTE. And beyond that, it is entirely speculative what treatments Cleveland Clinic might

   recommend that would differ from what BOP is currently doing or what BOP may recommend

   going forward after Defendant’s neurology examination.

          Defendant identifies a laundry list of possible therapies to treat some CTE symptoms. See

   Def. Mot. at 7. BOP is already employing some of these therapies (e.g., dopamine agonists and

   antidepressants/antianxiety medications) and some do not appear particularly relevant at this time


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   based on Defendant’s symptoms (e.g., motor therapy or behavior therapy). Defendant also cites a

   medical journal discussing experimental treatments for CTE, see id. n.8, but the studies cited are

   preclinical and involve animal, not human, subjects. Therefore, Defendant is not being denied any

   experimental treatments. The bottom line is that Defendant has identified no specific long-term or

   specialized medical care that BOP is not providing him, and without which he risks serious

   deterioration in health or death. As such, he has not established extraordinary and compelling

   reasons for compassionate release.

           B.      The 3553 Factors Weigh Against a Reduction at this Time.

           Reducing Defendant’s sentence to time served based on his current medical condition

   would undermine the 3553(a) factors which justified his sentence in the first place. As the Court

   will recall, this was a very serious offense. Defendant defrauded Tricare—the U.S. military’s

   health care benefit program—out of approximately $40 million. To execute the scheme, Defendant

   recruited hundreds of soldiers, veterans, and their family members to order expensive compounded

   drugs that they didn’t need. Defendant paid many of these recruits a small kickback for soliciting

   others to participate, creating a pyramid of kickback payments with himself towering at the top.

   Defendant also paid bribes to doctors to induce them to write prescriptions for his recruits. And he

   sold the pharmacy inactive filler ingredients used to fraudulently inflate the reimbursement from

   Tricare. Defendant reaped 50% of the profits—roughly $20 million—from the scheme. This was

   not a routine health care fraud case, and Defendant was no bit player. His 156-month sentence

   accurately reflects the seriousness of the offense. Cutting that sentence to 74 months would

   trivialize the nature of his crime.

            A reduction in sentence to time served would also undermine the twin goals of promoting


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   deterrence and respect for the law. Defendant has failed to accept any responsibility or show any

   remorse for his criminal conduct. Defendant perjured himself at trial. He later sought a

   commutation where he took no responsibility but instead distorted the true nature of his conduct,

   ignored or misrepresented much of the evidence of his guilt, blamed others for supposedly

   misleading him into criminal conduct, accused his co-conspirators of falsely condemning him, and

   he misquoted and mischaracterized the Court while accusing it of unfairness at trial and sentencing.

   See DE-342, Ex. 1 (Petition for Commutation of Sentence). Early release to time served under

   these circumstances would fail to promote respect for the law. Equally problematic, early release

   will undermine the vital deterrent effect needed in white collar cases generally and in health care

   fraud cases specifically. See United States v. Kuhlman, 711 F.3d 1321, 1328 (11th Cir. 2013)

   (“[W]hen the government obtains a conviction in a health care fraud prosecution, one of the

   primary objectives of the sentence is to send a message to other health care providers that billing

   fraud is a serious crime that carries with it a correspondingly serious punishment.”).

          In support of his motion, Defendant argues that his 156-month sentence is disproportionally

   high compared to the sentences of similarly situated defendants. Defendant is wrong. Most of the

   charged co-conspirators in this case are not similarly situated to him for many reasons, including

   that: (1) they were only responsible for a small fraction of the loss amount attributable to

   Defendant, (2) they played no aggravating role like he did, (3) they pleaded guilty and accepted

   responsibility unlike him, and (4) most agreed to cooperate while Defendant took the witness stand

   and perjured himself. The Eleventh Circuit has consistently held that defendants who plead guilty

   and cooperate are not similarly situated to defendants who go to trial for purposes of such

   proportionality arguments. See United States v. Docampo, 573 F.3d 1091, 1101 (11th Cir. 2009)


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   (“[D]efendants who cooperate with the government and enter a written plea agreement are not

   similarly situated to a defendant who provides no assistance to the government and proceeds to

   trial.”).

               In any event, those most similarly situated to Defendant did receive sentences similar to

   his, and therefore granting Defendant a sentence of time served would be grossly unfair to them.

   Erik Santos, for example, received a 135-month sentence for his role recruiting Tricare patients

   for PCA pharmacy. See United States v. Erik Santos, et al., Case No. 20-cr-60089-RKA, DE-36

   (J&C). Santos caused fewer losses to Tricare and made less money than Defendant, but unlike

   Defendant he pled guilty and accepted responsibility. See id., DE-15 (Factual Proffer). Steve

   Miller, another patient recruiter, also caused fewer losses to Tricare and made less money than

   Defendant. He pled guilty, accepted responsibility, and received a 97-month sentence. See United

   States v. Jonah Steven Miller, Case No. 19-cr-20230-CMA, DE-35 (J&C). Reducing Defendant’s

   sentence to time served (or approximately 74 months) would result in a sentence substantially less

   than those who are most similarly situated to him but who pled guilty. That result would be

   manifestly unfair.

               Defendant’s citation to general statistical data on average health care fraud sentences is

   equally unavailing because the statistics merely reflect the average case. This case is not an

   average health care fraud case for several obvious reasons. The sentence in an average health care

   fraud case: (1) does not involve over $20 million dollars in actual fraud loss, 12 (2) does not involve

   a trial, (2) does not involve perjury by the defendant, and (4) does not involve sophisticated means,




               12  In the statistics cited by Defendant, the average fraud loss was $1.2 million. In
   this case, the actual loss attributed to Defendant was over 15 times higher than that.
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   recruitment of co-conspirators, or a Federal health care program enhancement. That Defendant’s

   sentence is greater than the average sentence merely reflects the fact that his fraud scheme was far

   from average.

           III.    Conclusion

          For the foregoing reasons, the Court should deny Defendant’s Motion for Compassionate

   Release (DE-436).

                                                        Respectfully submitted,

                                                        MARKENZY LAPOINTE
                                                        UNITED STATES ATTORNEY

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                                                        Jon.Juenger@usdoj.gov




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 25, 2024, I electronically filed the Government=s

   Response in Opposition to Defendant’s Motion for Compassionate Release via CM/ECF.




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